






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00159-CR






Edward James Dunn, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 119TH JUDICIAL DISTRICT


NO. B-02-0490-S, HONORABLE THOMAS J. GOSSETT, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


The district court sentenced appellant Edward James Dunn to five years'
imprisonment after a jury convicted him of failing to register as a sex offender.  Tex. Code Crim.
Proc. Ann. art. 62.10 (West Supp. 2003).  His court-appointed attorney filed a brief concluding that
this appeal is frivolous and without merit.  The brief meets the requirements of Anders v. California,
386 U.S. 738 (1967), by presenting a professional evaluation of the record demonstrating why there
are no arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex.
Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, who was advised of his
right to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  Counsel's motion to withdraw is granted.

The judgment of conviction is affirmed.



				__________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Affirmed

Filed:   September 11, 2003

Do Not Publish


